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           U N I T E D S TAT E S D I S T R I C T C O U RT
       M I D D L E D I S T R I C T O F P E N N S Y L VA N I A


 William C. Toth Jr.; William J.
 Hall; Howard Gartland; James
 Bognet; Aaron Bashir; Alan M.
 Hall,

                      Plaintiffs,

 v.
                                             Case No. 1:22-cv-00208-JPW
 Leigh M. Chapman, in her
 official capacity as Acting
 Secretary of the Commonwealth;
 Jessica Mathis, in her official
 capacity as Director for the
 Pennsylvania Bureau of Election
 Services and Notaries; Tom
 Wolf, in his official capacity as
 Governor of Pennsylvania,

                      Defendants


                  SECOND AMENDED COMPLAINT
      The state of Pennsylvania lost a congressional seat in the most recent de-

cennial census. The Pennsylvania legislature must therefore draw a new con-
gressional map for the 2022 elections. Under the U.S. Constitution, the “leg-

islature” in each state is charged with prescribing the “times, places, and man-

ner” of electing Senators and Representatives, although Congress may enact
laws to “make or alter such regulations.” See U.S. Const. art. I, § 4, cl. 1 (“The




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Times, Places and Manner of holding Elections for Senators and Representa-

tives, shall be prescribed in each State by the Legislature thereof; but the Con-

gress may at any time by Law make or alter such Regulations.”). That means

the state legislature must either enact a new congressional map or delegate its

map-creation authority to another institution. See, e.g., Arizona State Legisla-

ture v. Arizona Independent Redistricting Commission, 576 U.S. 787 (2015).

    But the Pennsylvania legislature has not yet enacted a congressional map

for the 2022 elections. Earlier this year, the Republican-led General Assembly

passed a reasonable, non-gerrymandered map that would have created a 9-8

majority of Democratic-leaning congressional districts. See Exhibit 9 at p. 47

(picture of map); id. at p. 211 (¶¶ 78–79). But Governor Wolf vetoed the map,

despite its Democratic tilt, complaining that this 9-8 Democratic map was

“unfair” and insufficiently “bipartisan.”1 See Smiley v. Holm, 285 U.S. 355

(1932) (redistricting legislation that is vetoed by the governor is not “pre-

scribed . . . by the Legislature” within the meaning of the Elections Clause). In

the meantime, a group of litigants represented by the Elias Law Group repaired

to state court in an effort to induce the Supreme Court of Pennsylvania—

which has a 5-2 Democratic majority—to impose a more partisan Democratic

congressional map for the 2022 elections. See Exhibit 1 (state-court petition);

Exhibit 5 (state-court brief in support).




1. Governor Wolf’s veto statement can be found at: https://bit.ly/33WvHW7.


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    The Elias proposal—also known as the “Carter Plan”—would create a 10-

7 majority of Democratic-leaning congressional districts, rather than the 9-8

Democratic majority in the map approved by the General Assembly. See Ex-

hibit 5 at p. 24. It would also place two Republican incumbents in the same

congressional district, ensuring that at least one incumbent Republican will be

eliminated from the state’s congressional delegation. See Exhibit 9 at p. 195

(¶ 32). The General Assembly’s map, by contrast, would have placed a Dem-

ocratic and a Republican incumbent in a single congressional district, an ap-

proach that does not “seek to obtain an unfair partisan advantage through in-

cumbent pairings.” Exhibit 9 at p. 210 (¶ 68).

    The Supreme Court of Pennsylvania appointed a special master to con-

sider the 13 different congressional maps that had been proposed by litigants

and amici in the state-court litigation, including the “Carter Plan” and the map

that the General Assembly had approved. The special master recommended

that the state supreme court adopt the General Assembly’s proposed map for

the 2022 elections, which was “subjected to the scrutiny of the people and

duly amended.” See Exhibit 9, p. 216. The special master also commended the

Republican-led General Assembly for proposing a Democratic-leaning map,

which “underscores its partisan fairness.” Exhibit 9, p. 216 (¶ 97). But on Feb-

ruary 23, 2022, the state supreme court, in a 4-3 vote, overruled the special

master and purported to “adopt” the Carter Plan as the state’s congressional

map. See Exhibit 11. And the state’s election officials intend to implement this

Carter Plan for the 2022 elections.


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   But any attempt by the defendants to implement the Carter Plan is flatly

unconstitutional. The Elections Clause says that “the Legislature”—not the

judiciary—must “prescribe” the manner of electing representatives, and the

General Assembly has not adopted or approved the Carter Plan as the state’s

congressional map. More importantly, the General Assembly has not author-

ized the state judiciary to draw congressional maps or participate in the redis-

tricting process in any way. The state judiciary must therefore wait for the

General Assembly to act. And any attempt by the state judiciary to usurp the

legislature’s constitutionally assigned role must be disregarded by state offi-

cials, who are compelled to honor the Elections Clause over any contrary

edicts that might emanate from a state court.

   The Carter Plan is unconstitutional for an additional reason: It violates the

equal-population rule that the Supreme Court established in Wesberry v. Sand-

ers, 376 U.S. 1 (1964). The congressional districts in the Carter Plan contain

two-person deviations, which is constitutionally impermissible when it re-

mains possible to draw a map that contains no more than one-person devia-

tions among the proposed districts:




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Equal Population:




Exhibit  5, p. 21 see also Exhibit 9 at p. 192 (¶ 18) (“[U]nlike the other plans that
 Contiguity:
have   a maximum
 Political Subdivision population
                       Splits:    deviation of one person, the Carter Plan and the

House Democratic Plan both result in districts that have a two-person devia-

tion.”); id. at 195 (¶ 34) (describing the Carter Plan as “contrary to . . . United

States Supreme Court precedent.”); Kirkpatrick v. Preisler, 394 U.S. 526, 530–

31 (1969) (“Wesberry v. Sanders . . . requires that the State make a good-faith

effort to achieve precise mathematical equality.”); Evenwel v. Abbott, 578 U.S.

54, 59 (2016) (“States must draw congressional districts with populations as

close to perfect equality as possible.”). The map passed by the General Assem-




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 bly, by contrast, would limit population deviation among congressional dis-

 tricts to no more than one person, consistent with the Supreme Court’s equal-

 population rule:

          Difference between Preliminary Map and Updated Preliminary Map by
                                      Population              Percentage of
                                                          Preliminary Distrcts
                                                              that Remains
          District Final Population Unchanged Population       Unchanged
              1         764,865             764,865             100.00%
              2         764,865             727,974              95.18%
              3         764,865             727,974              95.18%
              4         764,865             764,865             100.00%
              5         764,865             665,110              86.96%
              6         764,865             664,660              86.90%
              7         764,864             744,414              97.33%
              8         764,864             745,298              97.44%
              9         764,864             710,269              92.86%
             10         764,865             685,726              89.65%
             11         764,865             745,299              97.44%
             12         764,865             720,103              94.15%
             13         764,864             642,606              84.02%
             14         764,865             741,290              96.92%
             15         764,864             764,864             100.00%
             16         764,865             755,133              98.73%
             17         764,865             741,290              96.92%
                                     Average Same                 95%

 Exhibit 6 at p. 31. So the Carter Plan is unconstitutional coming and going, and

 it cannot be implemented consistent with the Elections Clause or the equal-
4|Page
 population rule from Wesberry. The Court should declare the Carter Plan un-

 constitutional and immediately enjoin its enforcement.

     None of this means that Pennsylvania will be unable to conduct elections

 for its congressional delegation. If the General Assembly fails to enact a new

 congressional map in time for the 2022 elections, then the remedy is set forth



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in 2 U.S.C. § 2a(c): The state’s congressional delegation shall be elected at-

large:

         Until a State is redistricted in the manner provided by the law
         thereof after any apportionment, the Representatives to which
         such State is entitled under such apportionment shall be elected
         in the following manner: . . . (5) if there is a decrease in the num-
         ber of Representatives and the number of districts in such State
         exceeds such decreased number of Representatives, they shall be
         elected from the State at large.
2 U.S.C. § 2a(c). The Elections Clause requires state officials to implement
this congressional instruction if the General Assembly fails to enact a new con-

gressional map in time for the 2022 elections. Congress, in enacting 2 U.S.C.

§ 2a(c)(5), has “ma[de] . . . Regulations” that govern the election of represent-
atives pursuant to its authority under the Elections Clause, and state election

officials are constitutionally obligated to follow this congressional command

over any contrary instructions that might appear in a state-court ruling.
    The notion that the Supreme Court of Pennsylvania can replace the

fallback regime that Congress has established in 2 U.S.C. § 2a(c)(5) with a con-

gressional map of its own creation violates the Constitution in at least two re-
spects. First, it usurps the authority that the Elections Clause assigns to the

state legislature, because the Elections Clause gives “the Legislature” and not

the judiciary the power to “prescribe” the manner of electing representatives.
Second, it usurps the authority that the Elections Clause confers upon Con-

gress, because Congress has enacted a statute requiring Pennsylvania’s repre-

sentatives to be elected at large if the General Assembly fails to enact a map in



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time for the 2022 elections. The Court should therefore enter declaratory and

injunctive relief that enjoins the defendants from implementing or enforcing

the Carter Plan. And it should compel the defendants to hold at-large elections

for the 2022 Pennsylvania congressional delegation, notwithstanding any rul-

ing that might issue from the Supreme Court of Pennsylvania, unless and until

the General Assembly enacts a new congressional map.

                     JURISDICTION AND VENUE
   1. The Court has subject-matter jurisdiction under 28 U.S.C. § 1331, 28

U.S.C. § 1343, and 28 U.S.C. § 1367.

   2. Venue is proper in this district and division because a substantial portion

of the events or omissions giving rise to the present claim occurred in this dis-

trict and division. See 28 U.S.C. § 1391(b)(2).

   3. The plaintiffs request a three-judge panel under 28 U.S.C. § 2284(a)

because this action is challenging to the constitutionality of the apportionment

of congressional districts.

                                  PARTIES

   4. Plaintiff William C. Toth Jr. is a resident of Columbia County and a reg-

istered voter in Pennsylvania.

   5. Plaintiff William J. Hall is a resident of Lycoming County and a regis-

tered voter in Pennsylvania.
   6. Plaintiff Howard Gartland is a resident of Delaware County and a reg-

istered voter in Pennsylvania.




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   7. Plaintiff Jim Bognet is a resident of Luzerne County and a Republican

candidate for Congress. He is also a registered voter in Pennsylvania.

   8. Plaintiff Aaron Bashir is a resident of Philadelphia County and a Repub-

lican candidate for Congress. He is also a registered voter in Pennsylvania.

   9. Plaintiff Alan M. Hall is resident of Susquehanna County and a member

of the Susquehanna Board of Elections. He is also a registered voter in Penn-

sylvania.

   10. Defendant Leigh M. Chapman is Acting Secretary of the Common-

wealth of Pennsylvania. She may be served at 302 North Office Building, 401

North Street Harrisburg, Pennsylvania 17120. Acting Secretary Chapman is

sued in her official capacity.

   11. Defendant Jessica Mathis is Director for the Pennsylvania Bureau of

Election Services and Notaries. She may be served at 210 North Office Build-

ing, 401 North Street Harrisburg, Pennsylvania 17120. Director Mathis is sued

in her official capacity.

   12. Defendant Tom Wolf is the governor of Pennsylvania. He may be

served at the Office of the Governor, 508 Main Capitol Building, Harrisburg,

Pennsylvania 17120. Governor Wolf is sued in his official capacity.

                                   FACTS
   13. Before the 2020 census, the state of Pennsylvania had 18 seats in the
U.S. House of Representatives.




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   14. The results of the 2020 census left Pennsylvania with 17 seats in the

U.S. House, one fewer than before. See U.S. Dept. of Commerce, Table 1. Ap-

portionment Population and Number of Representatives by State: 2020 Cen-

sus.

   15. Under the Elections Clause of the U.S. Constitution, “the Legisla-

ture” of Pennsylvania must prescribe the “manner” by which its representa-

tives are elected, while Congress “may at any time by Law make or alter such

Regulations.” U.S. Const. art. I, § 4, cl. 1; see also id. (“The Times, Places and

Manner of holding Elections for Senators and Representatives, shall be pre-

scribed in each State by the Legislature thereof; but the Congress may at any

time by Law make or alter such Regulations.”). The powers conferred by the

Elections Clause include the prerogative to draw a new congressional map in

response to the decennial census.

   16. On August 20, 2021, the census-block results of the 2020 Census were

delivered to Governor Wolf and the leaders of the General Assembly, which

allowed the legislature to begin the process of drawing a new congressional

map.

   17. On December 15, 2021, the House State Government Committee ap-

proved a new congressional map (HB 2146), in a 14-11 vote. The General As-

sembly eventually passed HB 2146, but it was vetoed by Governor Wolf on

January 26, 2022.




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   18. On December 17, 2021, a group of eighteen voters known as the

“Carter petitioners” filed a lawsuit in the Commonwealth Court of Pennsyl-

vania, asking the state judiciary to impose a map for the 2022 congressional

elections. See Exhibit 1. Later that day, a separate group of twelve voters (the

“Gressman petitioners”) filed a similar lawsuit in the Commonwealth Court.

   19. The Commonwealth Court of Pennsylvania is the court of original ju-

risdiction for lawsuits involving the state and its officials.

   20. The Commonwealth Court consolidated the two redistricting cases on

December, 20, 2021, and the cases were assigned to Judge Patricia

McCullough.

   21. On December 21, 2021, the petitioners in those cases filed an applica-

tion for extraordinary relief in the Supreme Court of Pennsylvania, asking the

state supreme court to exercise extraordinary jurisdiction over the case. See

Exhibit 2.

   22. The Supreme Court of Pennsylvania has a 5-2 Democratic majority.

   23. On January 10, 2022, the state supreme court declined to invoke its

extraordinary jurisdiction and denied the application for extraordinary relief

without prejudice. See Exhibit 3.

   24. On January 14, 2022, Judge McCullough ordered all parties and inter-

venors to submit proposed maps and expert reports by January 24, 2022. Judge

McCullough also scheduled an evidentiary hearing for January 27 and 28,

2022, and announced that if the General Assembly “has not produced a new

congressional map by January 30, 2022, the Court shall proceed to issue an


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opinion based on the hearing and evidence presented by the Parties.” See Ex-

hibit 4.

     25. On January 26, 2022, Governor Wolf vetoed HB 2146, a congressional

map that had been approved by the General Assembly.

     26. On January 27 and 28, 2022, Judge McCullough presided over the ev-

identiary hearings that had been scheduled in her order of January 14, 2022.

     27. On January 29, 2022, the petitioners in the state redistricting lawsuit

filed a new “emergency application” with the Supreme Court of Pennsylvania,

asking the state supreme court to immediately exercise “extraordinary juris-

diction” and take over the redistricting litigation from Judge McCullough. See

Exhibit 7.

     28. On February 1, 2022, Judge McCullough announced that her ruling in

the redistricting cases will issue no later than February 4, 2022.

     29. On February 2, 2022, before Judge McCullough had issued her ruling,

the Pennsylvania Supreme Court granted the application to exercise extraor-

dinary jurisdiction in a 5-2 party-line vote.

     30. The state supreme court’s order designated Judge McCullough to

serve as its “Special Master,” and instructed her to file with the Supreme

Court of Pennsylvania, on or before February 7, 2022, “a report containing

proposed findings of fact and conclusions of law supporting her recommenda-

tion of a redistricting plan from those submitted to the Special Master, along

with a proposed revision to the 2022 election schedule/calendar.” See Exhibit

8.


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   31. Justice Mundy and Justice Brobson, both Republicans, dissented from

the state supreme court’s order granting extraordinary relief and exercising

extraordinary jurisdiction.

   32. On February 7, 2022, Judge McCullough issued her findings and rec-

ommended that the map approved by the General Assembly (HB 2146) be

used as the congressional map. See Exhibit 9.

   33. Judge McCullough recommended HB 2146 from among the 13 plans

that had been submitted for consideration by the parties and their amici. See

Exhibit 9 at pp. 44–57 (describing the 13 competing plans and maps).

   34. Judge McCullough rejected the Carter Plan because, among other rea-

sons, it produces districts with a two-person deviation, which is unconstitu-

tional when it remains possible to adopt other maps that contain no more than

a one-person deviation. See Exhibit 9 at p. 192 (¶ 18) (“[U]nlike the other plans

that have a maximum population deviation of one person, the Carter Plan and

the House Democratic Plan both result in districts that have a two-person de-

viation.”); id. at 195 (¶ 34) (describing the Carter Plan as “contrary to . . .

United States Supreme Court precedent.”); id. at 204 (“[T]his Court does

not recommend adopting the Carter Plan for the congressional districts in the

Commonwealth of Pennsylvania because . . . it has a two-person difference in

population from the largest to their smallest districts, while the majority of

other plans were able to achieve a one person deviation”); see also Kirkpatrick

v. Preisler, 394 U.S. 526, 530–31 (1969) (“Wesberry v. Sanders . . . requires that

the State make a good-faith effort to achieve precise mathematical equality.”);


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Evenwel v. Abbott, 578 U.S. 54, 59 (2016) (“States must draw congressional

districts with populations as close to perfect equality as possible.”).

   35. Judge McCullough also rejected the Carter Plan because it would put

two incumbent Republican incumbents into one congressional district:

      [C]ontrary to every other map submitted, the Senate Democratic
      Caucus 1 Plan and the Carter Plan include two Republican incum-
      bents in one congressional district, which effectively eliminates a
      Republican from continued representation in the United States
      House of Representatives. . . . [A]lthough Pennsylvania has al-
      ready lost one congressional seat as a result of decreased popula-
      tion, the Senate Democratic Caucus 1 Plan and the Carter Plan,
      in effect, seek to preemptively purge a Republican Congressman
      from the 17 seats that . . . remain available for office.”).
Exhibit 9 at p. 195 (¶ 32–33); see also id. at pp. 204–05 (“[T]his Court does not

recommend adopting the Carter Plan for the congressional districts in the

Commonwealth of Pennsylvania because . . . without any explicit or apparent

justification, it pairs two Republican incumbents in one congressional district
and effectively eliminates a Republican from continued representation in the

United States House of Representatives”).

   36. And Judge McCullough also found that the Carter Plan “provides a
partisan advantage to the Democratic party in contravention to the natural

state of political voting behavior and bias towards Republicans in Pennsylva-

nia.” Exhibit 9 at p. 205.
   37. In recommending HB 2146 as the state’s congressional map, Judge

McCullough acknowledged that the imposition of a court-selected map would




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“effectively usurp the role and function of the law-making bodies of this Com-

monwealth.” Exhibit 9 at p. 206 (¶ 49).

   38. Judge McCollough also found that HB 2146 would result in “9 Dem-

ocratic-leaning seats and 8 Republican-leaning seats,” despite the fact that the

Republican majority in the General Assembly had developed and proposed

that plan. See Exhibit 9 at p. 211 (¶¶ 78–79); id. at 211 at ¶ 79 (“Unlike other

maps that leaned Democrat, here, it is the Republican majority in the General

Assembly that developed and proposed a plan, HB 2146, that favors Demo-

crats, which ultimately underscores the partisan fairness of the plan.”).

   39. The Supreme Court of Pennsylvania allowed any party or intervenor

to file exceptions to Judge McCullough’s findings and recommendations by

February 14, 2022, and the state supreme court scheduled oral argument for

February 18, 2022.

   40. On February 9, 2022, the Supreme Court of Pennsylvania issued an

order sua sponte that purports to “suspend” the General Primary Election cal-

endar codified in 25 Pa. Stat. §§ 2868 and 2873. See Exhibit 10. No litigant had

asked the state supreme court to suspend the primary-election calendar or is-

sue an order purporting to do so.

   41. On February 23, 2022, the Supreme Court of Pennsylvania entered an

order that purports to “adopt” the Carter Plan for the 2022 elections. See Ex-

hibit 11. Three justices dissented from the decision to adopt the Carter plan.

See id.




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   42. The state supreme court’s order instructs state election officials to

“prepare textual language that describes the Carter Plan and submit the same

to the Secretary of the Commonwealth without delay,” and to “publish notice

of the Congressional Districts in the Pennsylvania Bulletin.” Exhibit 11.

   43. The state supreme court also “modified” the statutory deadlines in

General Primary Election calendar to accommodate its decision to impose the

Carter Plan for the 2022 congressional elections, and it commanded that its

“modified” schedule “shall be implemented by the Secretary of the Common-

wealth and all election officers within the Commonwealth.” Id. It also directed

the Secretary of the Commonwealth to “notify this Court by 4:00 p.m. on

February 25, 2022, should it foresee any technical issues.” Exhibit 11.

   44. The defendants intend to implement the Carter Plan for the 2022 con-

gressional elections, in defiance of the Elections Clause, 2 U.S.C. § 2a(c)(5),

and the equal-population rule of Wesberry v. Sanders, 376 U.S. 1 (1964).

               PENNSYLVANIA’S ELECTION LAWS
   45. A candidate who wishes to appear on the primary ballot in Pennsylva-

nia must file a nomination petition signed by members of his party who are

registered voters. See 25 Pa. Stat. §§ 2867.

   46. Candidates for the U.S. House of Representatives in Pennsylvania

must obtain 1,000 signatures from registered voters in the Commonwealth at
large. See 25 Pa. Stat. §§ 2872.1(12).




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   47. The statutes governing Pennsylvania elections provide that the first

day that candidates may begin circulating nominating petitions is February 15,

2022. The final day to obtain signatures is March 8, 2022.

   48. The state supreme court’s order of February 9, 2022, purported to

“suspend” the General Primary Election calendar, so that candidates were un-

able to begin circulating nominating petitions on February 15, 2022.

   49. The state supreme court’s order of February 23, 2022, purports to

modify these statutory deadlines by declaring that the first day to circulate and

file nomination petitions shall be February 25, 2022, rather than February 15,

2022, and that the last day to circulate and file nomination petitions shall be

March 15, 2022, rather than March 8, 2022. See Exhibit 11 at p. 3.

   50. The statutes governing Pennsylvania elections require the state’s pri-

mary elections to be held on May 17, 2022.

   51. The state supreme court’s order of February 23, 2022, does not at-

tempt to change the date of the state’s primary election, even though it at-
tempts to alter the deadlines for circulating and filing nominating petitions.

                 FACTS RELATED TO STANDING
   52. Each of the six plaintiffs is a registered voter in Pennsylvania, and each

of them is suffering injury in fact from the defendants’ implementation of the

unconstitutional Carter Plan and their refusal to hold at-large elections for the
state’s congressional delegation, as required by the Elections Clause and 2

U.S.C. § 2a(c)(5).




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   53. Under 2 U.S.C. § 2a(c), the plaintiffs are entitled to cast ballots for all

17 of the state’s representatives in the U.S. House if the General Assembly

fails to enact a new congressional map in time for the 2022 elections. The de-

fendants are depriving each of the plaintiffs of their entitlement to vote in all

17 congressional races by refusing to hold at-large elections as required by 2

U.S.C. § 2a(c)(5). This injury is traceable to the allegedly unlawful conduct of

the named defendants, who are violating the Elections Clause and 2 U.S.C.

§ 2a(c)(5) by implementing the Carter Plan for the 2022 congressional elec-

tions. And it will be redressed by an injunction that halts the implementation

of the Carter plan and requires the defendants to conduct at-large elections for

Pennsylvania’s congressional delegation unless and until the General Assem-

bly enacts a new congressional map.

   54. Plaintiff Gartland is suffering additional injury in fact from the Carter

Plan’s violation of the equal-population rule. Plaintiff Gartland resides and will

vote in the Carter Plan’s 5th congressional district, and his vote will carry less

weight because the population of his district has been overweighted in viola-

tion of the Constitution’s equal-population rule. See Exhibit 5, p. 21; Gartland

Decl. (attached as Exhibit 14). This injury is traceable to the allegedly unlawful

conduct of the named defendants, who are violating Wesberry v. Sanders by im-

plementing the Carter Plan for the 2022 congressional elections. And it will be

redressed by an injunction that halts the implementation of the Carter Plan

and requires the defendants to conduct at-large elections for Pennsylvania’s




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congressional delegation unless and until the General Assembly enacts a new

congressional map.

   55. Plaintiff Bashir is suffering additional injury in fact because the Carter

plan is forcing him to run in a congressional district with a massive Democratic

voter-registration advantage, rather than in a statewide at-large election where

the number of Democratic and Republican voters are more evenly split. See

Bashir Decl. ¶ 4 (attached as Exhibit 10). This injury is traceable to the alleg-

edly unlawful conduct of the named defendants, who are violating the Elec-

tions Clause and 2 U.S.C. § 2a(c)(5) by implementing the Carter Plan for the

2022 congressional elections. And it will be redressed by an injunction that

halts the implementation of the Carter plan and requires the defendants to

conduct at-large elections for Pennsylvania’s congressional delegation unless

and until the General Assembly enacts a new congressional map.

   56. Plaintiffs Bognet and Bashir are suffering additional injuries in fact be-

cause the defendants’ implementation of the unconstitutional Carter Plan and

their refusal to honor the Elections Clause and 2 U.S.C. § 2a(c)(5) is leaving

plaintiffs Bognet and Bashir uncertain of how they should campaign for a seat

in the U.S. House of Representatives. The primary election is only three

months away, and the defendants’ implementation of a patently unconstitu-

tional congressional map creates a substantial risk that a federal court or the

Supreme Court of the United States will declare the map unlawful after they

have spent time and resources campaigning in the court-drawn congressional




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districts. See Bashir Decl. ¶ 5 (attached as Exhibit 12). This cloud of legal un-

certainty over the court-drawn map inflicts additional injury in fact by making

it difficult for Mr. Bashir and Mr. Bognet to raise money from donors to fi-

nance their campaigns. See Bashir Decl. ¶ 6–8 (attached as Exhibit 10). This

injury is traceable to the allegedly unlawful conduct of the named defendants,

who are violating the Elections Clause and 2 U.S.C. § 2a(c)(5) by implement-

ing the Carter Plan for the 2022 congressional elections. And it will be re-

dressed by an injunction that halts the implementation of the Carter plan and

requires the defendants to conduct at-large elections for Pennsylvania’s con-

gressional delegation unless and until the General Assembly enacts a new con-

gressional map.

   57. Plaintiff Alan M. Hall is suffering additional injuries in fact in his ca-

pacity as a member of the Susquehanna County Board of Elections. The de-

fendants’ implementation of the Carter Plan will force Mr. Hall to conduct an

election under an unconstitutional map, in contravention of Mr. Hall’s oath of

office. In addition, the state supreme court’s unilateral “revisions” to the stat-

utorily mandated primary election calendar will force Mr. Hall to depart from

the General Primary Calendar that the legislature enacted, in violation of the

U.S. Constitution and in contravention of Mr. Hall’s oath to obey the Consti-

tution. These injuries are traceable to the allegedly unlawful conduct of the

named defendants, who are violating the Elections Clause and 2 U.S.C.

§ 2a(c)(5) by implementing the Carter Plan for the 2022 congressional elec-

tions. And it will be redressed by an injunction that halts the implementation


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of the Carter plan and requires the defendants to conduct at-large elections for

Pennsylvania’s congressional delegation unless and until the General Assem-

bly enacts a new congressional map.

   58. Plaintiff Hall is also suffering injury in fact from the defendants’ deci-

sion to implement the “revised” General Primary Calendar decreed by the

state supreme court. Because the state supreme court extended the deadline

for circulating and filing nomination petitions by seven days, Mr. Hall does not

expect to have a certified list of candidates until March 29, 2022—seven days

later than would be expected under the calendar prescribed by the Legislature.

See Hall Decl. ¶ 7 (attached as Exhibit 12). Yet under the Uniformed and Over-

seas Citizens Absentee Voting Act (UOCAVA), Mr. Hall’s office must send

ballots to overseas military members at least 45 days before the primary elec-

tion. See 52 U.S.C. § 20302(a)(8)(A). That deadline falls on April 2, 2022, a

Saturday. So the defendants’ departure from the legislatively enacted calendar

leaves Mr. Hall and his colleagues with only one or two days to prepare and

mail overseas military absentee ballots given the deadline established in

UOCAVA. See Hall Decl. ¶ 8 (attached as Exhibit 12). This injury is traceable

to the allegedly unlawful conduct of the named defendants, who are violating

the Elections Clause by departing from the General Primary Calendar that the

Pennsylvania legislature enacted. And it will be redressed by an injunction that

enjoins the defendants from departing from the General Primary Calendar.




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 CLAIM #1: THE DEFENDANTS’ IMPLEMENTATION OF
THE CARTER PLAN VIOLATES THE ELECTIONS CLAUSE
               AND 2 U.S.C. § 2a(c)(5)
   59. The Elections Clause provides:

      The Times, Places and Manner of holding Elections for Senators
      and Representatives, shall be prescribed in each State by the Leg-
      islature thereof; but the Congress may at any time by Law make or
      alter such Regulations, except as to the Places of chusing Sena-
      tors.
U.S. Const. art. 1, § 4, cl. 1 (emphasis added).

   60. The Elections Clause forbids the defendants to implement the Carter

Plan because it has not been “prescribed” by “the Legislature” of Pennsylva-

nia. The Supreme Court of Pennsylvania is not part of “the Legislature,” and

the General Assembly has not delegated any of its map-drawing powers to the

state judiciary or authorized the state courts to involve themselves in the re-

districting process in any way.

   61. The Elections Clause also forbids the defendants to defy the require-

ments of 2 U.S.C. § 2a(c)(5), which requires Pennsylvania to hold at-large

elections if the General Assembly fails to enact a new congressional map in

time for the 2022 primary. See U.S. Const. art. 1, § 4, cl. 1 (allowing Congress

to “make or alter” regulations for electing representatives). The Supreme

Court of Pennsylvania is constitutionally forbidden to replace the fallback re-

gime that Congress has established in 2 U.S.C. § 2a(c)(5) with a court-drawn




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map—and the state’s election officials are constitutionally obligated to imple-

ment 2 U.S.C. § 2a(c)(5) over any contrary command that might emanate from

the state judiciary.

   62. The Court should therefore declare the Carter Plan unconstitutional

and enjoin the defendants from enforcing or implementing it. The Court

should also enter an injunction that requires the defendants to hold at-large

elections for the Pennsylvania congressional delegation, unless and until the

General Assembly enacts a new congressional map.

   63. The plaintiffs bring these claims under 42 U.S.C. § 1983, the Declar-

atory Judgment Act, and any implied rights of action that might exist under

the Constitution of the United States or any election-related statute enacted
by Congress.

 CLAIM #2: THE DEFENDANTS’ DEPARTURE FROM THE
    GENERAL PRIMARY CALENDAR VIOLATES THE
                ELECTIONS CLAUSE
    64. The Elections Clause provides:

       The Times, Places and Manner of holding Elections for Senators
       and Representatives, shall be prescribed in each State by the Leg-
       islature thereof; but the Congress may at any time by Law make or
       alter such Regulations, except as to the Places of chusing Sena-
       tors.
U.S. Const. art. 1, § 4, cl. 1 (emphasis added).

    65. The Elections Clause forbids the defendants to depart from the Gen-

eral Primary Calendar that has been “prescribed” by “the Legislature” of

Pennsylvania to govern the state’s congressional and senatorial elections.



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    66. The Court should declare that the defendants must adhere to the Gen-

eral Primary Calendar when conducting elections for the U.S. House and Sen-

ate, and it should enjoin the defendants from departing from that legislatively

enacted primary calendar unless and until that calendar is modified or altered

by the Pennsylvania legislature.

    67. The plaintiffs bring these claims under 42 U.S.C. § 1983, the Declar-

atory Judgment Act, and any implied rights of action that might exist under

the Constitution of the United States or any election-related statute enacted
by Congress.

    CLAIM #3: THE CARTER PLAN VIOLATES THE
EQUAL-POPOULATION RULE OF WESBERRY V. SANDERS
    68. The Constitution requires states to establish congressional districts

of equal population. See Wesberry v. Sanders, 376 U.S. 1 (1964). This equal-

population rule compels states to “draw congressional districts with popula-

tions as close to perfect equality as possible.” Evenwel v. Abbott, 578 U.S. 54,

59 (2016).

    69. The Carter Plan, however, produces congressional districts with a

two-person deviation, even though 11 of the 13 plans that were proposed to the

state supreme court had population deviations of no more than one person.

See Exhibit 9 at p. 192 (¶ 18) (“[U]nlike the other plans that have a maximum

population deviation of one person, the Carter Plan and the House Demo-

cratic Plan both result in districts that have a two-person deviation.”).




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    70. A two-person population deviation is constitutionally impermissible

when it is possible to draw congressional districts with exactly equal popula-

tions or with population deviations of no more than one. See Kirkpatrick v.

Preisler, 394 U.S. 526, 530–31 (1969); Karcher v. Daggett, 462 U.S. 725, 730–31

(1983); Evenwel, 578 U.S. at 59 (“States must draw congressional districts with

populations as close to perfect equality as possible.”).

    71. The special master appointed by the Supreme Court of Pennsylvania

rejected the Carter Plan for precisely this reason. See Exhibit 9 at 195 (¶ 34)

(describing the Carter Plan as “contrary to . . . United States Supreme Court

precedent.”); id. at 204 (“[T]his Court does not recommend adopting the

Carter Plan for the congressional districts in the Commonwealth of Pennsyl-

vania because . . . it has a two-person difference in population from the largest

to their smallest districts, while the majority of other plans were able to achieve

a one person deviation”).

    72. The Supreme Court of Pennsylvania, however, overruled the special

master and “adopted” the Carter Plan despite its incompatibility with the

equal-population rule—and despite the fact that the other competing maps

complied with the Supreme Court’s equal-population edicts by ensuring a

population deviation of no more than one person.

    73. The Court should declare the Carter Plan unconstitutional because it

violates the equal-population rule of Wesberry v. Sanders, and it should enjoin

the defendants from implementing or enforcing the Carter Plan.




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   74. The plaintiffs bring these claims under 42 U.S.C. § 1983, the Declar-

atory Judgment Act, and any implied rights of action that might exist under

the Constitution of the United States or any election-related statute enacted

by Congress.

                        DEMAND FOR RELIEF
   75. The plaintiffs respectfully request that the court:

        a.     declare that the Carter Plan violates the Elections Clause and 2

               U.S.C. § 2a(c)(5);

        b.     declare that the Elections Clause compels the defendants to ad-

               here to the General Primary Calendar enacted by the Pennsyl-

               vania legislature when conducting elections for the U.S. House

               and Senate;

        c.     declare that the Carter Plan violates the equal-population rule

               of Wesberry v. Sanders;

        d.     declare that the Elections Clause and 2 U.S.C. § 2a(c)(5) re-

               quire the defendants to hold at-large elections for the Pennsyl-

               vania congressional delegation, unless and until the General As-

               sembly enacts a new congressional map;

        e.     enter a preliminary and permanent injunction that: (1) restrains

               the defendants from implementing or enforcing the Carter
               Plan; (2) restrains the defendants from departing from the Gen-

               eral Primary Calendar enacted by the Pennsylvania legislature

               when conducting elections for the U.S. House and Senate; and


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             (3) compels the defendants to hold at-large elections for the

             Pennsylvania congressional delegation, unless and until the

             General Assembly enacts a new congressional map;

       f.    award the plaintiffs costs and attorneys’ fees under 42 U.S.C.

             § 1988;

       g.    grant all other relief that the Court may deem just, proper, or

             equitable.

                                      Respectfully submitted.

                                       /s/ Jonathan F. Mitchell
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Dated: February 26, 2022              Counsel for Plaintiffs




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                    CERTIFICATE OF SERVICE
   I certify that on February 26, 2022, I filed this document on CM/ECF,

which will effectuate service upon the following counsel of record:

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